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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES – GENERAL

Case No. 2:22-cv-03868-AFM                                                Date: July 20, 2022
Title      BackGrid USA, Inc. v. iHeartMedia, Inc. et al



Present: The Honorable:       ALEXANDER F. MacKINNON, U.S. Magistrate Judge
                  Ilene Bernal                                             N/A
                  Deputy Clerk                                    Court Reporter / Recorder

          Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:
                       N/A                                                 N/A

Proceedings (In Chambers): ORDER
                           (1) DISCHARGING ORDER TO SHOW CAUSE (ECF No. 10)
                           (2) EXTENDING DEFENDANT’S DEADLINE TO FILE A
                           RESPONSE TO THE COMPLAINT

        In response to the Order to Show Cause (ECF No. 10), on July 20, 2022, the parties filed a
Joint Stipulation for Enlargement of Time for Defendant to Answer, or Otherwise Respond to
Complaint and requesting the Court to extend the deadline to file a response to August 29, 2022.
(ECF No. 11.) The Court deems that response satisfactory and orders the Order to Show Cause
discharged.

      The parties’ request to extend the time to file a response to the Complaint is granted.
Defendant iHeart Media, Inc. shall file a response no later than August 29, 2022.

        IT IS SO ORDERED.



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                                                                     Initials of Preparer           ib




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